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                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK

UNITED REALTY ADVISORS, LP, et al.,

       Plaintiffs,                                             Civil Action No. 14-CV-5903
                                                               Civil Action No. 14-CV-8084
vs.
                                                               HON. BERNARD A. FRIEDMAN
ELI VERSCHLEISER, et al.,

      Defendants.
____________________________________/

          ORDER DENYING DEFENDANTS’ MOTIONS TO ADJOURN TRIAL

               This matter is presently before the Court on letters filed by two pro se defendants –

one filed by defendant Raul Delforno on June 2, 2022 (ECF No. 534), and the other filed by

defendant Eli Verschleiser on June 3, 2022 (ECF No. 538). The Court shall interpret both letters

as motions to adjourn trial.

               This case is set for trial on June 13, 2022. In his letter, Delforno states that he was

only recently made aware of the trial date. (ECF No. 534, Page 1). He adds that his “wife just gave

birth to a healthy baby” and that he cannot leave his home in Florida to attend a trial in New York

at this time. (Id.). In Verschleiser’s letter, he asserts that he has “been trying to persuade [his]

previous attorney to come back into the case to help [him] navigate the upcoming trial,” but explains

that the attorney’s grandmother recently passed away and he therefore cannot represent Verschleiser

at trial. (ECF No. 538, Page 1). Verschleiser adds that he has reached out to “numerous” other

attorneys, but to no avail. (Id.). He consequently requests a thirty-day extension so that he “can find

the counsel for this trial and properly defend [him]self.” (Id.)
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                  The Court entered a trial notice advising the parties of their June 2022 trial date on

April 7, 2022 (ECF Nos. 422, 427),1 shortly after the trial date was assigned by the Judicial Services

Department within the Southern District of New York. Further, as noted in the proposed joint

pretrial order, the substance of plaintiffs’ claims has remained constant over the past four-plus years.

(ECF No. 431, Page 1-2) (stating that the latest proposed joint pretrial order merely updated the

order submitted on May 1, 2018, and that section IV “Summary of Plaintiffs’ Claims” “remains

unchanged (save an occasional correction of a typographical error)”). This case has been ongoing

for nearly eight years and trial has already been adjourned three times. Delforno and Verschleiser

have had ample notice and time to prepare for these proceedings and to retain counsel, if they so

desired. Under the circumstances, Delforno and Verschleiser have failed to show good cause for

further delaying resolution of case. See Fed. R. Civ. P. 16(b)(4). Accordingly,



                  IT IS ORDERED that defendants’ motions to adjourn trial (ECF Nos. 534, 538) are

denied.


                                                 s/Bernard A. Friedman
                                                 BERNARD A. FRIEDMAN
                                                 SENIOR UNITED STATES DISTRICT JUDGE
                                                 SITTING BY SPECIAL DESIGNATION
Dated: June 7, 2022
       Detroit, Michigan




          1
        The Court entered an amended trial notice on April 29, 2022, moving the trial start date
from June 16 to June 13, 2022. (ECF Nos. 422, 427).


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